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April 27, 2022

The Honorable Maryellen Noreika
U.S. District Court
844 N. King Street
Unit 19, Room 4324
Wilmington, DE 19801-3555


Re:     CBV, Inc. v. ChanBond, LLC, et al., C.A. No. 1:21-cv-01456-MN


Dear Judge Noreika,

        I write on behalf of Defendants Deirdre Leane and IPNAV, LLC (collectively, the

“Leane Defendants”), concerning ChanBond, LLC’s April 26, 2022 letter requesting

sanctions (D.I. 90).

        Leane Defendants join in the relief requested in ChanBond’s letter, particularly

ChanBond’s request for an award of attorneys’ fees and costs in connection with Mr.

Rader’s participation in this Action. Like ChanBond, Leane Defendants have incurred

attorneys’ fees and costs opposing the baseless Motion to Intervene (D.I. 34) and in

connection with Mr. Rader’s conduct that gave rise to ChanBond’s request for relief.

For the reasons stated by ChanBond at the April 25 hearing and in its April 26 letter, if

the Court awards ChanBond its attorneys’ fees and costs in connection with the Motion

to Intervene and Mr. Rader’s further involvement in the Action, Leane Defendants

respectfully request that they also be awarded their attorneys’ fees and costs.
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        Counsel are available should the Court have any questions.

                                        Respectfully submitted,

                                        /s/ James H. S. Levine

                                        James H.S. Levine (#5355)

JHSL
cc: All counsel of record
